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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       Case No. 1:16-cr-00122-DAD-BAM-4
12                     Plaintiff,
13          v.                                       ORDER GRANTING MOTION TO
                                                     WITHDRAW AS ATTORNEY OF RECORD
14   FRANCES GALVAN,                                 AND TO APPOINT NEW COUNSEL
15                     Defendant.
16

17          The court has reviewed and considered defense counsel’s motion to withdraw as attorney

18   of record, declaration in support thereof and accompanying documents which have been filed

19   with the court under seal. Good cause appearing, attorney Eric K. Fogderude, counsel of record

20   on behalf of defendant Frances Galvan is hereby relieved. The Office of the Federal Defender is

21   directed to identify new Criminal Justice Act counsel to appoint on behalf of defendant Frances

22   Galvan.

23   IT IS SO ORDERED.
24
        Dated:    October 30, 2017
25                                                       UNITED STATES DISTRICT JUDGE

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